                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:15-cr-91-TRM-SKL
 v.                                                    )
                                                       )
 RYAN ROGERS                                           )

                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 20, 2016.

 At the hearing, defendant moved to withdraw his not guilty plea to Counts One, Five, and Ten of

 the thirty-two-count Indictment and entered a plea of guilty to Counts One, Five, and Ten of the

 Indictment, in exchange for the undertakings made by the government in the written plea agreement.

 On the basis of the record made at the hearing, I find the defendant is fully capable and competent

 to enter an informed plea; the plea is made knowingly and with full understanding of each of the

 rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; the defendant understands the nature of

 the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

 One, Five, and Ten of the Indictment be granted, his plea of guilty to Counts One, Five, and Ten of

 the Indictment be accepted, the Court adjudicate defendant guilty of the charges set forth in Counts

 One, Five, and Ten of the Indictment, and a decision on whether to accept the plea agreement be

 deferred until sentencing. I further RECOMMEND defendant remain in custody until sentencing

 in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.

                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE


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                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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